Case

 

'16-cV-00689-PSG-G.]S Document 76 Filed 01/25/18 Page 1 of 18 Page |D #:565

MichaelA.Rivera,SBN136931
7840 Firestone Boulevard, Suite 105
Downey CA 90241

Phone: :562) )869- 0480

Fax: (5 2) 869- 0485

Attorney for RAUL MENDOZA

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No.: 2:16~<:\/-000689 PSG (GJSX)
ASENCION GINES DOMINGUEZ, an

individual, “LA SONORA DEFENDANT RAUL MENDOZA'S
SANTANERA DE CARLOS 1151 %HI§)§ %I;)JSOF§¥R§¥DI§
COLORADO, an mdlvldual, JUDGMENT 0F LEONIDAS
OSORIO; DECLARATIONS OF
Plaintiffs RAUL MENDOZA AND MICHAEL
» A. RIVERA
VS- NOTED 0N MOTION CALENDAR=

LEONIDAS OSORio an individual FEBRUARY 5, 2018
“LA NUEVA SANGR’E SONORA
SANTANERA” LA UNICA

RNNERA annum
6 3.
INTERNACIONAL SONORA ¥If§l§r 12_/3562}9]1&
SANTANERA” S..A de C..v- CTRM. SA . .
ANTONIO MENDEZ an individual dba '
“LA UNICA iNTERNACIONAL
§&H?H§P§RW§§%§§LE R'L' HON. PHILIP S. GUTIERREZ

SONORA SANTANERA” S.A. de
C.V.; RAUL MENDOZA an individual
Non-Re iSter “LA SONORA

SANTA RA DE CARLOS
COLORADO,; And DOES ONE
THROUGH 20.

Defendants.

 

 

l

Defendant Raul Mendoza's Notice of Joinder in Motion to Set Aside Default and Defau]t Judgrnent

 

Case 2:16-CV-00689-PSG-G.]S Document 76 Filed 01/25/18 Page 2 of 18 Page |D #:566

1 PLEASE TAKE NOTICE that defendant Raul l\/Iendoza specially appears and
2 joins in defendant Leonidas Osorio's l\/lotion to Set Aside Default and Default
3 Judgment pursuant to F ederal Rules of Civil Procedure, Rules 55 (c) and 60 (b).
4 Additionally, Raul l\/lendoza notes that default and default judgment Were taken
5 against him also by the fraud, misrepresentation, and misconduct of the plaintiff and
6 that the default judgment Was void for lack of personal jurisdiction over the
7 defendants due to plaintiffs failure to serve the summons and complaint in any

3 manner authorized by law and the plaintiffs filing With the Court of false and

9 fraudulent purported proofs of service. Default and default judgment Were entered
10 against the defendants through no fault of the defendants, the defendants have
11 meritorious defenses, and the plaintiff cannot show any prejudice in presenting his
12 claims as a result of the setting aside of the defaults and default judgment This
13 joinder is appropriate due to the applicable "one judgment" rule, to avoid duplicative
14 proceedings and for the sake of judicial economy.
15 The Declarations of Raul Mendoza and Michael A. Rivera are provided in
16 support of Raul Mendoza's Joinder in defendant Leonidas Osorio‘s Motion to Set
17 Aside Default and Default Judgrnent pursuant to Federal Rules of Civil Procedure,
18 Rules 55(0) and 60 (b).

 

19
20 Dated: January 25, 2018 Respectfully Submitted,
22 Michaei/i/A. Rivera,
23 Attorney for Raul Mendoza
24
//
25
//
26
//
27
//
28

2

Defendant Raul Mendoza's Notice of Joinder in Motion to Set Aside Default and Default Judgment

 

 

 

Case

\OOO'--]O\

2:16-CV-00689-PSG-G.]S Document 76 Filed 01/25/18 Page 3 of 18 Page |D #:567

//

I. PLAINTIFF FAILED T() SERVE THE SUMMONS AND FILED
FALSE PROOFS OF SERVICE, PERPETRATED A FRAUD UPON THE
COURT AND FAILED TO OBTAIN PERSONAL JURISI)ICTION OVER
THE DEFENDANTS, THEREF()RE, RELIEF FROM THE DEFAULTS AND
DEAFULT JUDGMENT SHOULD BE GRANTED

A default judgment can be set aside under FRCP Rule 60(b)(3) Where there has
been fraud, misrepresentation, or misconduct by an opposing party. FRCP Rule
60(b)(3).

A default judgment should also be set aside as void if it is rendered Without
subject matter or personal jurisdiction FRCP Rule 60(b)(4). Precision Etchings &
Findings, lnc v LPG Gem, Ltd1 953 F. 2d 21, 23 (1st Cir 1992) (holding that a default
judgment entered by a court lacking personal jurisdiction over the defendant is void);
Venable v Haislip, 721 F. 2d 297, 300 (lOth Cir 1983) ("If the underlying judgment is
void for lack of personal jurisdiction the district court must grant relief."); w
Banl<ing Co v Rentschuler, 657 F2d 844, 850 (7th Cir 1981) ("[I]f the underlying
judgment is void because the court lacked personal jurisdiction the trial judge has
no discretion and must grant appropriate Rule 60(b) relief.").

FRCP Rule 4(e) governs service of a summons on an individual and allows for
service by personal delivery to the defendant, sub-service at the individual's dwelling
or usual place of abode, or Service upon an agent authorized by appointment or by law
to receive service of process.

A summons can also be served by the methods provided under state law as
Well. FRCP Rule 4(e). California Code of Civil procedure 415.10 - 415.95 govern

service of summons in California.

3

Defendant Raul Mendoza's Notice of .Ioinder in Motiori to Set Aside Default and Default Judgrnent

 

 

 

Case

\DCO-~JO\

10
11
12
13
14
15
16
17
is
19
20
21
22
23
24
25
26
27

2:16-cV-00689-PSG-G.]S Document 76 Filed 01/25/18 Page 4 of 18 Page |D #:568

C.C.P. section 415.30 governs service by "notice and acknowledgment."
However, under C.C.P. section 415.30 (c): "Service of a summons pursuant to this
section is deemed complete on the date a written acknowledgement of receipt of
summons is executed, if such acknowledgement thereafter is returned to the sender."

ln this case there is no signed written acknowledgement of receipt of the
summons because, as the declaration of Raul l\/[endoza demonstrates, the plaintiff did
not ever attempt to serve the summons personally or mail it to the defendants known
"dwelling or usual place of abode" but instead filed fraudulant proofs of service using
a fictitious address, presumably to deceive or defraud the Court for the purpose of
taking a default and default judgment against the defendant and unfairly robbing the
defendant of the opportunity to enter an apperance and defend the case.

ludgment by default is drastic step appropriate only in extreme circumstances
United States v. Signed Personal Check No. 730, 615 F.3d 1085, 1091-1092 (9th Cir.
2010).

 

Judgment by default is an extreme measure and the case should, whenever
possible, be decided on its merits. Communitv Dental Servs. v. Tani, 282 F.3d 1164,
1170 (9th Cir. 2002).

 

Wherl timely relief is sought and movant has a meritorious defense, doubtJ if
any, should be resolved in favor of motion for relief so that cases may be decided on
their merits. Civic Ctr. Square v. Ford (ln re Roxford Foods), 12 F.3d 875, 879, 881
(9th Cir. 1993)

The " good cause" standard that governs vacating entry of default is the same
standard that governs vacating default judgment; the analysis considers three factors:
(l) whether party engaged in culpable conduct that led to default; (2) whether the
party had a meritorious defense; or (3) whether reopening default judgment would
prejudice opposing party. Franchise Holding 11, LLC v. Huntington Rests. Group,
M, 375 F.3d 922, 925-926 (9th Cir. 2004)

4

Defendant Raul Mendoza's Notice of J oinder in l\/lotion to Set Aside Default and Default Judgment

 

 

 

Case 2:16-cv-OO689-PSG-G.]S Document 76 Filed 01/25/18 Page 5 of 18 Page |D #:569

1 In this case, the fraudulent proofs of service directed to a fictitious address and
the declaration of Raul Mendoza reflect that there was no culpable conduct on the part
of the defendant that led to the default. Further, Mr. Mendoza's declaration indicates
that he has meritorious defenses to the complaint Certainly, there is no prejudice to
the plaintiff because the plaintiff does not appear to have the trademark rights he

claims to have, his application having been abandoned and his questionable

‘--_lO\Lh-D-b~l[\)

"authorization" expired.
8 Merely being forced to litigate on the merits is not considered prejudicial. To
9 be prejudicial, setting aside of the judgment must result in greater harm than
10 simply delaying resolution of case; the standard is whether the claimant's ability to
11 pursue his claim will be hindered. TCI Group Life Iris. Plan v. Knoebber, 244 F.3d
12 691, 701 (9th Cir. 2001).

 

13 Other factors that the Court can consider include (1) the possibility of prejudice
14 to the plaintiff, (2) the merits of plaintiffs substantive claim, (3) the sufficiency of the
15 complaint, (4) the sum of money at stake in the action, (5) the possibility of a dispute
16 concerning material facts, (6) whether the default was due to excusable neglect, and
17 (7) the strong policy underlying the Federal Rules of Civil Procedure favoring

13 decisions on the merits. See, e.g., General Produce Co. v. Warehouse Mkts., LLC,

19 2015 U.S. Dist. LEXIS 43910, at *5 (E.D. Cal. Apr. 1, 2015)

 

20 The burden on the party seeking to vacate the default judgment is not

21 extraordinarily heavy; all that is necessary is that the defendant allege sufficient facts
22 that, if true would constitute a defense United States v. Signed Personal Checl<; No.
23 LO, 615 F.3d1085, 1091-1092 (9th Cir. 2010)

 

24 The defendant, Raul l\/lendoza, has meritorious defenses to the complaint
25 Defendant did not and does not infringe upon any trademark rights of the Plaintiff, the
26 Plaintiff did not and does not have any trademark rights, and there is no confusion of

27 the public as to the source of the Defendant’s musical tribute band.

28
5

Defendant Raul Mendoza's Notice of Joinder in Motion to Set Aside Default and Default .Iudgment

 

 

 

     

 

Case 2:16-cv-OO689-PSG-G.]S Document 76 Filed 01/25/18 Page 6 of 18 Page |D #:570

1 The Plaintiffs, on the other hand, do not have the rights to the "Sonora
2 Santanera" trademark in the United States that they allege and they have no legal
3 standing to sue the defendants In addition, the Complaint is devoid of any allegations
4 against this defendant and fails to state a cause of action against this defendant
5 II. CONCLUSION
6 Where Plaintiff filed fraudulent and untrue proofs of service on a fictitious
7 address while having the defendant’s true address thereby demonstrating an obvious
8 fraudulent intent to deceive the Court and take defendant’s default without his
9 knowledge, relief from the default and default judgment should be granted.

10

11 Dated: January 25 , 2018 Respectfully Submitted,

12 /__,/ - /"1/»\“

13 Michae1 A. Rivera,

14 Attorney for Raul Mendoza

l 5

16

17

18

19

20

21

22

23

24

25

26

27

28

6
Derenddm Raul Mendozd‘s Ndrice dfidinder in Mdrion 10 ser Aside Default and Defauli iudgmem

 

 

 

Case 7'16-cV-OO689-PSG-G.]S Document 76 Filed 01/25/18 Page 7 of 18 Page |D #:571

l MiohaelA.Rivera,SBN136931
7840 Firestone Boulevard Suite 105
Downey CA 90241

Phone: .:562) )869 0480

Fax: (5 2) 869- 0485

-F>~L+Jl\.)

U'l

Attorney for RAUL l\/IENDOZA

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No.: 2:16~cv-000689 PSG (GJSX)
19 AsENCIoN rilan DOMINGUEZ, dd

11 individual, “LA SONORA DECLARATION or RAUL
sAN'rANERA DE CARLos MENDoZA IN sUPPoRT or

12 coLoRAr)o” NoRMA ALMAZAN §§L§§§§l§%%%§§g§§?R

13 COLORADO, an individual, JU])GMENT

14 remand

15 vs.

16 LEoNIDAs osoruo did individddi

“LA NUEvA sANGR’E soNoRA DATEf 2_/5/2018
17 sANTANERA” LA UNICA §%EM 153 P-M-
1NTERNACIONAL soNoRA -

18 sANrANERA s de R. L ddb “LA

19 §§§E]B§NA*ECI§§§SAR S£%O\§A HON. PHILIP s. GUTIERREZ

20 ANTONIO MENDEZ an individual dba
“LA UNICA INTERNACIONAL

91 SONORA SANTANERA S. de R.L.

“ dba “LA INTERNACIONAL

22 SONORA SANTANERA” S._A. de
C.V.' RAUL l\/IENDOZA an individual

23 Non- Re ister “LA SONORA
SANTA RA DE CARLOS

24 COLORADO,; And DOES ONE
THROUGH 20.

25 Defendants.

26

 

27
28

Declaration Of Raul Mendoza

 

 

 

,..

Case 2

-FAL)J[\J

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

27
28

 

 

:16-cV-OO689-PSG-G.]S Document 76 Filed 01/25/18 Page 8 of 18 Page |D #:572

DECLARATION OF RAUL l\/IEND()ZA

I, Raul l\/lendoza, declare:

1. 1 have personal knowledge of the following facts and if called as a witness 1
could and would competently testify as to the truth thereof

2. l have 35 years in the music business as a musician and promoter
representing various Latin music groups for the purpose of arranging and promoting
live performances 1 am a legitimate businessman and always pay my taxes and do
not hide from anyone.

3. Over the last 2 years 1 have worked with other musicians to form a tribute to
the music of Sonora Santanera because 1 have always appreciated the sounds of
tropical music and the other musicians and l are big fans of the music of Sonora
Snatanera. We have never said we are the group Sonora Santanera. Our group is
identified as only a tribute to the music of Sonora Santanera We do not claim to be
Sonora Santanera, nor have we ever tried to register the name of Sonora Santanera

4. We do not compete with the Plaintiff in any manner. Although it does not
appear that the Plaintiff has the rights to perform as Sonora Santanera that he claims,
even if he did have the rights to perform as Sonora Santanera, the performances of our
tribute band would not be in competition with him and there would be no confusion of
the public as to the source of the performances When our performances were to be
promoted or advertised we have always included the word "Tribute" ("Tributo" in
Spanish) in our promotional photos to distinguish our group as a tribute band and to
use a reasonable effort to avoid any confusion of the general public between our
tribute band and the original band from Mexico. At performances, I have always
announced 3 to 4 times per performance that we are performing a tribute to the music
of Sonora Santanera We are not confusing or deceiving anyone and we do not claim
to be Sonora Santanera in our promotions or at our performances The audience

members and the public are not confused and they know that we are not the Mexican

Declaration Of Raul l\/lendoza

 

Case >:16-cV-OO689-PSG-G.]S Document 76 Filed 01/25/18 Page 9 of 18 Page |D #:573

1 group known as Sonora Santanera and that they are only listening to the popular

2 traditional songs of Sonora Santanera as performed by our tribute band. We also

LJJ

perform songs that are not by Sonora Santanera such as boleros like "Usted" and "Que
Seas Feliz."

5. 1 am informed and believe that the original band "Sonora Santanera" is from
Mexico and included Carlos Colorado and 11 other band members To the best of my
knowledge, the only surviving members of the group are Arturo Ortiz and Antonio

Mendez. 1 am informed and believe that Arturo Ortiz and Antonio Mendez continue

\DOO‘-~]O\U'F-l>

to perform as the original band "Sonora Santanera" throughout Mexico and that they
10 have the legal rights to do so. A well known and respected Latin music promoter,

11 named Bobby Reynoso has told me on two occasions in 2015 and 2016 that Arturo
12 Ortiz had called him to tell him that he was aware of my tribute band to the music of
13 Sonora Santanera and that he approved of my band‘s performances because he liked
14 that we identify ourselves as a tribute band and because the quality of our band's

15 performances is good.

16 6. Over the last 8 or 9 years, at least 4 different persons have tried to register
17 the name of "Sonora Santanera" or some variation thereof To the best of my

13 knowledge and experience the only valid trademark registration belongs to Arturo

19 Ortiz and Antonio l\/lendez through a l\/Iexican corporation identified in LIVE U.S.
20 Trademark registration no. 3575 958 (registration date 2/17/2008) as "La Unica

21 lntemacional Sonora Santanera, S. De R.L. DBA La Internacional Sonora Santanera,
22 S.A. de C.V."

23 7. 1 am informed and believe that the trademark application of the Plaintiff

24 Ascencion Dominguez filed 10/28/2015 for "La Sonora Santanera de Carlos

25 Colorado" has been deemed "Abandoned" as of June 16, 2017.

26 8. The first time 1 became aware that 1 had been named as a defendant in this

27 case was on or about May 18, 2017 when a FedEX package was delivered to my horne
28

.`
.}

Declaration Of Raul l\/lendoza

 

 

 

Case 2:

\OOO‘-~]O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

16-cv-OO689-PSG-G.]S Document 76 Filed 01/25/18 Page 10 of 18 Page |D #:574

address, apparently sent to me by "Joseph Montoya" from "8132 Firestone Boulevard,
Suite 331, Downey, CA 90241." A true and correct photocopy of the front face of the
FedEx package 1 received is attached hereto as Exhibit l, which reflects my home
address, the name and address of loseph Montoya and the date the package was
presumably sent.

9. lnside the FedEx package was the l\/lotion for Sanctions of the Plaintiffs.
This was the first moment 1 became aware of this case and that 1 was a named
defendant in this case. Thereafter, l sought legal counsel After 1 hired an attorney
and after he had reviewed the Motion for Sanctions and the Court record, 1 became
aware of the Default ludgment in this case for the very first time.

10. Since the date of the l\/lotion for Sanctions my attorney and 1 have
investigated this matter to obtain the relevant facts and evidence.

11. 1 have reviewed the four alleged Proofs of Service filed in this case which
allege service on me of the Summons and Complaint, the Amended Summons and
Complaint and the l\/lotion for Sanctions, Docurnent Numbers 23, 25, 29, and 69. All
4 documents appear to be false declarations by "Joe l\/lontoya." The first 3 documents
allege service of the Summons and Complaint and the Amended Summons and
Cornplaint "by mail and acknowledgment of receipt of service." These allegations are
false. 1 did not receive the alleged documents, nor did 1 sign an acknowledgment of
receipt of service. I am informed and believe that no "acknowledgment of receipt of
service" with my name or signature has been filed in this case or otherwise produced
by the Plaintiffs.

12. Only the Motion for Sanctions was received by me because "Joseph
Montoya" sent it to my house via FedEx. (Please see Exhibit 1.)

13. "Joseph l\/lontoya" knew my actual address on N. Humbert Avenue because
he had previously sent me a letter to that address in November of 2014 in which he

claimed to be an "Attorney at Law" for l\/lr. Dominguez. Nothing came of the letter

Declaration Of Raul Mendoza

 

 

Case 2

[\)

L».)

 

16-cV-OO689-PSG-G.]S Document 76 Filed 01/25/18 Page 11 of 18 Page |D #:575

and no further documents were received from him at my home address until the
Motion for Sanctions was received by FedEx in l\/lay of 201 7. A true and correct
photocopy of the letter from Joseph Montoya to me at my N. Humbert Avenue
address dated 11/15/2014 is attached hereto as Exhibit 2.

14. 1 have lived at the N. Humbert Avenue address for about the last 31 years
l\/iy address is commonly known in the local Latin entertainment community of Los
Angeles.

15. During review of the Motion for Sanctions, my attorney and l searched for
the "Walmart Street" address alleged to belong to me in the Proofs of Service filed by
the Plaintiffs with Internet map programs, including "Google Maps," and it appeared
that no such address actually exists Thereafter, on or about June 20, 2017, 1 went to
the U.S. Post Office branch in El l\/lonte, California and 1 requested the Supervisor to
check on the "Walmart Street" address alleged in the Proofs of Service filed by the
Plaintiffs and signed by "Joe Montoya." The Supervisor, Luis Rodriguez, checked the
U.S. Post Office database for the address alleged in the Proofs of Service filed by the
Plaintiffs, "7065 Walmart Street, South El l\/lonte 91732." He concluded and
confirmed in writing that the said address does not exist in the city of El l\/lonte.
Attached hereto as Exhibit 3 is a true and correct photocopy of the letter signed and
stamped by the Supervisor of the El Monte Post Office in my presence on June 20,
2017 confirming that the said address does not exist in the city of El Monte.

16. ln June, 2017, 1 also went to the 8132 Firestone Boulevard address for
"Joseph l`viontoya'1 on the FedEx package he presumably sent to my home address on
l\l. Humbert Avenue. 1 found that the address pertained to a location with mail boxes
and a Notary and Livescan service. Despite asking for him, 1 did not find Joseph
l\/Iontoya at that location on the day 1 went there. Attached hereto as Exhibit 4 is a
true and correct copy of the signage posted at the 8132 Firestone Boulevard address

for "Joseph Montoya."

Declaration Of Raul Mendoza

 

 

Case 2:16-cV-OO689-PSG-G.]S Document 76 Filed 01/25/18 Page 12 of 18 Page |D #:576

1 17. This declaration was translated from English to Spanish and read to me in
2 Spanish.

3 Executed on January 23, 2018, at Downey, California.

4 l declare under the penalty of perjury of the United States that the foregoing is

./1:@".

Raul Mendoza

5 true and correct

 

\DOO-.'|O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Declaration Of Raul Mendoza

 

 

 

Case 2. 16-cV-OO689-PSG-G.]S Document 76 Filed 01/25/18 Page 13 of 18 Page |D #:577

1 MichaelA.Rivera, SBN136931
7840 Firestone Boulevard Suite 105
2 Downey ,CA 90241

Phone: :§’562) )-869 0480

3 Fax: (5 2) 869- 0485

5 Attorney for RAUL MENDOZA

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

\DOO‘-~'|O\

Case No.: 2:16-cv-000689 PSG (GJSx)
10 AsENCroN oiNEs DoMINGUEZ, an

11 individual, “LA SONORA I)ECLARATION or MICHAEL A.

a 1881 sess sindermann
COLORADO” NQRMA ALMAZAN RELIEF FROM DEFAULT

13 COLORADO, an individual, JUDGMENT

14 Piaiaiirra,

15 vs.

16 LEoNrDAs osoRro an 1ad1v1d11a1

“LA NUEvA sANGR’E soNoRA DATE:
17 sANrANERA” LA 11ch §IME: _ 1:30 P.M.
rNrERNACIONAL soNoRA TRM- 6A

18 sAN'rANERA s. de R. L dab “LA

19 §§§EM(§§§§IA S(§§I§O\§A HON. PHILIP s GUTIERREZ

20 ANTONIO l\/lENDEZ an individual dba
“LA uNrCA INTERNACIONAL

21 soNoRA sANTANERA s da R.L.
dba “LA INTERNACIONAL

22 soNoRA sANTANERA” s._A. _da_
C.V.; RA_UL MENDOZA an individual

23 Non-Re 1ster “LA SONORA
sANrA RA DE CARLos

24 CoLoRAr)o,; And DoEs oNE

rrrRoUGH 20

25 Defendants.

26

 

27

Declaration Of l\/lichael A. Rivera

 

 

 

Case 2

.[d

‘-_]O`\U\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

16-cv-00689-PSG-G.]S Document 76 Filed 01/25/18 Page 14 of 18 Page |D #:578

DECLARATION ()F MICHAEL A. RIVERA

l, l\/Iichael A. Rivera, declare:

1. I am an attorney admitted to practice before all courts of the State of
California and the Central District of Califomia, and the attorney of record for
defendant Raul Mendoza herein. l have personal knowledge of the following facts
and if called as a witness l could and would competently testify as to the truth
thereof

2. 1 have reviewed the Court's files available for this matter relevant to Mr.
Mendoza on Pacer.

3. During my review of the Court's files 1 reviewed the four alleged Proofs of
Service filed in this case which allege service on Mr. Mendoza of the Summons and
Complaint, the Amended Summons and Cornplaint and the Motion for Sanctions,
Document Numbers 23, 25, 29, and 69. True and correct copies of the said alleged
Proofs of Service are attached hereto as Exhibit 5.

4. Document Numbers 23 and 25 appear to assert the identical information, the
only difference appearing to be the use of capital letters on Document Number 25.

5. Document Nurnbers 23 and 25 allege service of the Summons and
Complaint and Document Number 29 alleges service of the Amended Summons and
Complaint. All 3 documents allege service "by mail and acknowledgment of receipt
of service."

6. No acknowledgments of receipt of service, signed or otherwise, are attached
to the filed Proofs of Service, Document Numbers 23, 25, and 29. No
acknowledgments of receipt of service bearing the name or signature of Raul
Mendoza appear on the Court's docket on Pacer for this case. To the best of my
knowledge, no acknowledgments of receipt of service bearing the name or signature

of Raul Mendoza are attached to any document on file in this matter. To the best of

Declaration Ot" Michael A. Rivera

 

Case 2:

 

 

16-cv-OO689-PSG-G.]S Document 76 Filed 01/25/18 Page 15 of 18 Page |D #:579

my knowledge, the Plaintiffs have not otherwise produced any acknowledgments of
receipt of service bearing the name or signature of Raul Mendoza in this matter.

7. Each of the said alleged Proofs of Service, Document Numbers 23, 25, 29,
and 69, purports to be signed by "Joe Montoya" under penalty of perjury

8. Each of the said alleged Proofs of Service, Document Numbers 23, 25, 29,
and 69, purports to have served Mr. Mendoza at an address identified as 7065
Walmart Street, South El Monte 91732. 1 conducted a search for the said "Walmart
Street" address with the Google Maps website on my computer and it appeared that no
such address actually exists

9. Since 1 learned that Joseph Montoya had sent Mr. Mendoza a letter in 2014
in which he represented himself to be a lawyer for Plaintiff Asencion Dominguez at a
California address (please see Exhibit 2), 1 conducted a search on the California State
Bar Website for information on an attorney by the name of Joseph Montoya in the
State of California, including similar sounding names Six names came up. Four of
the persons' names that came up were deceasedl Only two of the persons' names that
came up indicated that they were not deceased and their license was active. One of
those two persons has a work address in Los Angeles at the Office of Adrninistrative
Hearings with bar number 96605, and the other has an address of record in Eureka,
California with bar number 276816. This information leads me to believe that the
.1 oseph Montoya that sent the letter to Mr. Mendoza in 2014 misrepresented himself to
be an attorney and was not an attorney. The fact that the name of ".1 oe Montoya"
appears on the Proofs of Service leads me to believe that the same 1 oseph Montoya
signed the apparently false Proofs of Service. True and correct copies of the
California State Bar website printouts 1 personally obtained upon entering the name of
Joseph Montoya in the California State Bar website Attorney Search page, and
checking the box to include Similar sounding names are attached collectively hereto as

Exhibit 6.

 

Declaration Of Michael A. Rivera

Case

2:16-cV-OO689-PSG-G.]S Document 76 Filed 01/25/18 Page 16 of 18 Page |D #:580

10. 1 conducted a "basic word" search on the website of the United States
Patent and Trademark Office Trademark Electronic Search System (TESS) system for
"Sonora Santanera."

11. Seven (7) records were displayed as pertaining to those words. Of the
seven records displayed only two showed actual registration numbers Both of those
registrations indicate ownership of the mark by MeXican corporation La Internacional
Sonora Santanera, S.A. de C.V. True and correct copies of the United States Patent
and Trademark Office Trademark Electronic Search System (TESS) website printouts
1 personally obtained upon searching for records pertaining to the Mark of "Sonora
Santanera" in the TESS system are attached collectively hereto as Exhibit 7.

13. The said TESS system records indicate that the registrations of Mexican
corporation La 1nternaci0nal Sonora Santanera, S.A. de C.V were first registered on
2/29/2000, cancelled on 3/3/2007, and re-registered on 2/17/2009. At least 4 different
persons have tried to register the name of "Sonora Santanera,“ or some variation
thereof, and failed. None of the attempted and failed registrations 1 found contained
the name of the defendant Raul Mendoza.

14. The said TESS system records also indicate that the registration application
of the Plaintiff Dominguez was "Abandoned" as of June 16, 2017.

15 . Attached as the first page of Exhibit B to the Amended Complaint of the
Plaintiffs was a document dated 9/10/1986 purportedly signed by the members of
Sonora Santanera (page 53 of the Document No. 14). 1t appears to me that the
Plaintiffs may have misrepresented the meaning of the said document 1 am relatively
fiuent in both English and Spanish and have translated the document for the Court's
review to the best of my ability. A true and correct copy of page 53 of the Document
No. 14 and my English translation thereof are attached collectively hereto as EXhibit

9. Apparently, Exhibit B confirms that the members of the group would continue to

Declaratioi'i Of Michael A. Rivera

 

 

 

Case

\DOO\JO\

10
11
12

14
15
is
17
is
19
20
21
22
23
24
25
26
27
23

n

d

 

 

:16-cV-OO689-PSG-G.]S Document 76 Filed 01/25/18 Page 17 of 18 Page |D #:581

perform using the name "Sonora Santanera" and pay to Mr. Colorado's widow his
share of the earnings from their performances

16. 1 have read the Exhibit C to the Amended Complaint of the Plaintiffs which
the plaintiffs allege was signed by Mrs. Yolanda Almazan Ortiz Colorado. The
alleged authorization alleges that Mrs. Yolanda Almazan Ortiz Colorado has the
exclusive rights to use the mark "Sonora Santanera" in Mexico, but does not state that
Mrs. Yolanda Almazan Ortiz Colorado has any rights, exclusive or otherwise, to use
the mark "Sonora Santanera" in the United States Also, the purported 3 year

authorization to Mr. Dominguez expired by its own terms on 2/19/2017.

Executed on 1 anuary 24, 2018, at Downey, California.
1 declare under the penalty of perjury of the United States that the foregoing is

true and correct \

 
   

Michael/K. Rivera

 

Dec]aration Of Michael A. Rivera

 

Case 2:16-cV-OO689-PSG-G.]S Document 76 Filed 01/25/18 Page 18 of 18 Page |D #:582

PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

1, th_e undersigned, certify and declare that 1 am ove_r the aige of 18 years,
employed_in the County of Los Angeles, State of California, an not a party to the
above-entitled cause.

On January 25, 2018, 1 served a true coi§/ of the fore oin document described as
DEFENDANT RAUL MENDOZA'S OTICE 0 JO NDER IN MOTION
TO SET ASIDE DEFAULT AND DEFAULT JUDGMENT OF LEONIDAS
OSORIO; DECLARATIONS OF RA_UL MENDOZA AND MICHAEL A.
RIVERA on the interested parties in this action

( ) by placing the true copies thereof enclosed in sealed envelopes
addressed as stated on the attached mailing list:

( X ) by placing ( ) the original (X ) a true copy thereof enclosed in a sealed
enveloped addressed as follows:

Asencion Gines Dominguez Kenneth Gaugh, Esq. W. Randall Sgro, Esq.

Norma Almazan Colorado 1623 Cravens Ave. Fruchter & Sgro, APC
1831 W. Florence Ave. Torrance, CA 90501 1609 Cravens Ave.
Los Angeles, CA 90047 Torrance, CA 90501

[X] (BY MAIL) 1 arn readily familiar with the law firm’s practice for
collection and processing of correspondence for mailing with the U.S. Postal
Service. The within correspondence will be deposited with the U.S. Postal Service
on the same day shown on this affidavit, in the ordinary course of business 1 am
aware that on motion of the party served, service is presumed invalid if postal
cancellation date or postal meter date is more than one day after the date of deposit
for mailing in this affidavit

[ ] (BY FACSIl\/IILE) Said document was sent by facsimile to the parties
in the within action at the fax number set forth above.

[ ] (BY PERSONAL SERVICE) Said document was delivered by hand
to the parties in the within action.

EXecuted on January 25, 2018, at Los Angeles, California.

1 hereby certify that 1 am a member of the Bar of the United States District Court,
Ceritral District of California.

iviichaei Rivei~a //*`f°”/// L/

Type or Print Name Signature

 

 

